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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL



Case No.: CV 15-07778-AB (JEM)                                    Date:   January 29, 2016


 Title:     Hilton Head Finance, LLC et al v. Lane Topletz et al



 Present: The Honorable          ANDRÉ BIROTTE JR.

                Carla Badirian                                           N/A
                Deputy Clerk                                        Court Reporter

          Attorneys Present for Plaintiffs:                Attorneys Present for Defendants:
                 None Appearing                                    None Appearing

 Proceedings:            [In Chambers] Order GRANTING Motion to Dismiss
       Before the Court is a Motion to Dismiss for Lack of Personal Jurisdiction, For
Improper Venue, or Change of Venue, or to Dismiss Failure to State a Claim, filed by
Defendants Lane Topletz, Dennis Topletz, Topletz Investments, Steven K. Topletz, Casey
Topletz, Vicki Topletz, DVS Investments LLC, Estate of Jack Topletz, and Estate of
Harold Topletz (collectively, “Defendants”) on December 7, 2015. (Dkt. No. 13.)
Plaintiffs Hilton Head Finance LLC, et al., did not file an opposition. The Court found the
motion appropriate for resolution without oral argument and took the motion under
submission. See Fed. R. Civ. P. 78, Local Rule 7-15. For the following reasons, the
Court GRANTS the Motion.

    I.       DISCUSSION

         A. The Motion is Granted as Unopposed.

      Under Local Rule 7-9, “Opposing Papers,” papers opposing a motion are due served
on the movant and filed with the court “not later than twenty-one (21) days before the date
designated for the hearing of the motion.” The motion was set for hearing on February 1,
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2016. Accordingly, Plaintiff’s opposition papers were due served and filed not later than
January 11, 2016. As of the date of this order, Plaintiffs have not filed an opposition.
Under Local Rule 7-12, “The failure to file any required paper, or the failure to file it
within the deadline, may be deemed consent to the granting or denial of the motion.” In
this case, the court deems Plaintiff’s failure to oppose as consent to the granting of the
motion.

        B. The Motion is Granted on its Merits.

      The motion also presents sound grounds for dismissing the Complaint. Defendants
argue that the Complaint should be dismissed under Fed. R. Civ. P. 12(b)(2) for lack of
personal jurisdiction over the Defendants.

        A court may subject a defendant to judgment only when the defendant has sufficient
contacts with the sovereign “such that the maintenance of the suit does not offend
‘traditional notions of fair play and substantial justice.’ ” International Shoe Co. v.
Washington, 326 U.S. 310, 316 (1945). As a general rule, the sovereign’s exercise of
power requires some act by which the defendant “purposefully avails itself of the privilege
of conducting activities within the forum State, thus invoking the benefits and protections
of its laws.” Hanson v. Denckla, 357 U.S. 235, 253 (1958). A state may exercise general
jurisdiction over a defendant who is a citizen or domiciliary of the state of jurisdiction, or it
may exercise specific jurisdiction over a defendant with regard to disputes that rise out of
or are connected with the defendant’s activities within the state. See J. McIntyre Mach.,
Ltd. v. Nicastro, 131 S. Ct. 2780, 2787 (2011) (comparing general jurisdiction and specific
jurisdiction). As the parties seeking to invoke federal jurisdiction, Plaintiffs have the
burden of establishing its existence. Fields v. Sedgwick Assoc. Risks, Ltd., 796 F.2d 299,
301 (9th Cir. 1986).

       Plaintiffs’ Complaint asserts RICO claims, breach of contract, violations of Texas
usury law, and unjust enrichment arising out of loans Defendants made to Plaintiffs in
connection with Plaintiffs’ “business of acquiring distressed single-family homes, doing
major renovations and then selling to homeowners with owner financing.” Compl. ¶ 19.
The Complaint alleges that all of the Plaintiffs are Colorado LLCs with their principal
place of business in Los Angeles, California. See Compl. ¶¶ 3-9. The Complaint also
pleads that all of the individual Defendants are Texas residents, and that Topletz
Investments is a Texas company; the Complaint does not plead any place of business for
DVS Investments LLC, or the residence of the Estate of Jack Topletz, and Estate of Harold
Topletz. See Compl. ¶¶ 10-18. The Complaint pleads no facts relating to the location of
any of the properties or transactions at issue in this case, let alone any facts showing that
the dispute has any connection to California.
       By contrast, Defendants have submitted the Declaration Dennis Topletz to

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demonstrate their lack of contacts with the state of California. Dennis Topletz is the
President of Defendant DVS Investments LLC, general partner in Defendant Topletz
Investments, and the brother and father of the remaining individual defendants. See
Topletz Decl. ¶ 1. Other defendants include the Estate of Harold Topletz and the Estate of
Jack Topetz; Dennis is Harold’s son and Jack’s nephew. See id. ¶ 5. Based on the
foregoing, and on his statement that he is aware of his siblings’ business dealings, Dennis
Topletz has established foundation that he has personal knowledge of the contents of his
declaration.

       Dennis Topletz states that neither he nor any of the defendants are citizens or
residents of California, that the individual defendants are all citizens and domiciliaries of
Texas, that the entities are Texas entities with Texas principal places of business, that no
defendants have any business dealings in California, that the loans that are the subject of
the dispute are all secured by real property located in Texas, and that payments on the loans
were made to DVS Investments’ office in Dallas, Texas. See generally id. When a
defendant contests personal jurisdiction, a plaintiff bears the burden of establishing
personal jurisdiction through a prima facie showing that jurisdiction exists. American
Telephone & Telegraph Co. v. Compagnie Bruxelles Lambert, 94 F.3d 586, 588 (9th Cir.
1996). Here, Plaintiffs filed no opposition to the motion, so Dennis Topletz’s declaration
is completely unrebutted. The court therefore finds, for the purposes of this motion, that
the contents of the declaration are established: that none of the individual defendants is a
California citizen or domiciliary, that none of the entities are California entities, that none
of the Defendants has business in California, that the transactions at issue in this case took
place elsewhere –Texas – and that the properties that secured the loans are located in
Texas. Based on the foregoing, the Court cannot exercise either general jurisdiction over
any Defendants, or specific jurisdiction over them with respect to the matters alleged in the
Complaint. Based on the foregoing, the Court need not reach the other grounds for the
motion.

       In light of Plaintiffs’ failure to oppose the Motion, the Court finds that dismissal of
the action is appropriate. As this is not a disposition on the merits, Plaintiffs are free to
pursue their claims in a court that has personal jurisdiction over the defendants.

    II.     CONCLUSION

      For the foregoing reasons, the Court GRANTS the Defendants’ Motion to Dismiss
for Lack of Personal Jurisdiction. The Complaint is therefore DISMISSED.

          IT IS SO ORDERED.



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